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Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                   (Consolidated)

                    UNITED STATES COURT OF APPEALS
                        FOR THE THIRD CIRCUIT

ATLAS DATA PRIVACY CORP., As Assignee of Individuals Who Are Covered
   Persons; JANE DOE 1, a Law Enforcement Officer; JANE DOE 2, a Law
Enforcement Officer; EDWIN MALDONADO; SCOTT MALONEY; JUSTYNA
 MALONEY; PATRICK COLLIGAN; PETER ANDREYEV; AND WILLIAM
                             SULLIVAN,

                                                 PLAINTIFFS-APPELLEES,

                                       v.

                         WE INFORM LLC, ET AL.

                                            DEFENDANTS-APPELLANTS.

               On Appeal from the United States District Court
               For the District of New Jersey, Camden Division
                       The Honorable Harvey Bartle III


                MOTION TO PROCEED ANONYMOUSLY
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                                 INTRODUCTION

      Plaintiff-Appellee Jane Doe-2 submits this Motion to Proceed Anonymously

in response to the Court’s Orders dated April 1, 2025, directing Plaintiffs Jane

Doe-1 and Jane Doe-2 to (1) provide a copy of the state- or district-court order

granting them the right to proceed anonymously or (2) file a motion asking this Court

for that relief; and April 22, 2025, suggesting Jane Doe-2 move to proceed

anonymously to protect her anonymity after withdrawal. Jane Doe-2 no longer

wishes to be involved in this litigation, and Appellees’ counsel plans to move for her

dismissal as a party in this Court and the United States District Court for the District

of New Jersey. Jane Doe-2 has not been granted formal permission to proceed

anonymously. But Defendant-Appellants have never expressed any opposition to her

doing so, and Jane Doe-2 is willing to make her name available to Defendants on a

confidential basis. Jane Doe-2 respectfully requests that this Court permit her to

preserve her anonymity after withdrawal.

      Maintaining her anonymity is critical for Jane Doe-2. These suits focus on

how Defendants continue to publish the home addresses and telephone numbers of

many law enforcement officers, judges, and prosecutors, in violation of Daniel’s

Law. As detailed below, Jane Doe-2 received a death threat from a hostile inmate at

the correctional facility where she works. Requiring Jane Doe-2 to reveal her real




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name will result in public attention directed at Jane Doe-2 that will increase the risk

of physical harm for her and her family.

                                  BACKGROUND
      These cases arise under Daniel’s Law, a New Jersey statute that confers rights

on law enforcement, judges, prosecutors, and their family members to prevent the

disclosure of their home addresses and unpublished home telephone numbers.

N.J.S.A. 56:8-166.1. Judges, law enforcement officers, and prosecutors put their

lives on the line every day, putting themselves and their families at risk, and Daniel’s

Law provides them with a mechanism to protect themselves and their families from

risks that arise from widespread access to their personal contact information. Compl.

¶¶ 13–14.1

      For Jane Doe-2, these risks have already materialized in the past. As detailed

in the Complaint, Officer Jane Doe-2 is a veteran correctional police officer who

lives with her husband and two young children. Id. ¶ 16. Earlier in her career, Officer

Doe-2 was the subject of a death threat from a hostile inmate. Id. The inmate stated

that they intended to kill Officer Doe-2 and implied that they would rely upon a

particular private investigator to track down Officer Doe-2’s home address to


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 All docket citations are to the Complaint filed against Defendant Whitepages, Inc.,
et al. (hereafter, “Compl.”), Ex. 1, and to the docket in Atlas Data Privacy Corp. v.
Whitepages Inc., No. 1:24-cv-25-1555-HB (D.N.J). All other relevant Complaints
featuring Jane Doe-2 as a Plaintiff are materially the same for purposes of this
Motion.
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facilitate the murder. Id. This death threat was investigated and found credible

enough to result in a successful criminal prosecution. Id. Part of Officer Doe-2’s

current duties include working in her correctional facility’s law library, where

inmates have access to the Internet, including online data broker websites and

services. Id. Recently, Officer Doe-2 and her coworkers discovered a note left behind

by an inmate which included the full name and home address of a young female

member of the jail’s administrative staff. Id. The most effective ways to safeguard

the security and privacy of their home addresses—for their own safety and that of

their family members—is a frequent topic of discussion and concern among the

correctional police officers working at Officer Doe-2’s facility. Id.

                                   ARGUMENT

      Jane Doe-2 should be permitted to maintain her anonymity as she withdraws

from this case and after withdrawal, as she has at every prior stage of these

proceedings. Jane Doe-2 has a “reasonable fear of severe harm [that] outweighs the

public’s interest in open judicial proceedings.” Doe v. Megless, 654 F.3d 404, 408

(3d Cir. 2011). She has been subjected to credible threats of violence from a hostile

inmate at the correctional facility where she works. Requiring Jane Doe-2 to reveal

her name would create an obvious pathway to connect her with her current addresses,

obtain additional information, and expose her to renewed risks of harm. By contrast,

the public has no obvious interest in ascertaining the identity of Jane Doe-2—and if


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anything, has an interest in protecting her privacy. Thus, there is no reason to require

disclosure of Jane Doe-2’s identity on appeal to this Court.

   I.      Jane Doe-2 Has a Reasonable Fear of Severe Harm.

        Jane Doe-2 has a plainly reasonable fear that disclosure of her identity would

expose her to physical harm—the paradigmatic case for permitting a plaintiff to

proceed anonymously. B.L. v. Fetherman, 2023 WL 1818402, at *4 (D.N.J. Feb. 8,

2023) (“[T]he legitimate threat of physical harm is the paradigmatic example of a

circumstance that would warrant proceeding anonymously.” (citing Doe v.

Kamehameha Sch./Bernice Pauahi Bishop Estate, 596 F.3d 1036, 1044 (9th Cir.

2010))); Doe v. Triangle Doughnuts, LLC, 2020 WL 3425150, at *5 (E.D. Pa. June

23, 2020) (“[A]dditional threats or violent interactions” justify proceeding

anonymously).

        Jane Doe-2 faces a credible threat of violence by virtue of her work as an

officer at a correctional facility with hostile inmates. One such inmate threatened to

kill Officer Doe-2. Compl. ¶ 16. The inmate described their plans to do so, implying

they would rely upon a particular private investigator to track down Officer Doe-2’s

home address to facilitate the murder. Id. This death threat was investigated and

found credible enough to result in a successful criminal prosecution. Id. Disclosure

of Jane Doe-2’s identity to the public at large would call attention to her role in the

prosecution, and evidence and public filings in these cases might include references

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to her address or other information, which might encourage that inmate or any other

who remains at large to attempt to physically harm Jane Doe-2 and her family. Id.

      Officer Doe-2 faces an additional risk of harm because part of her current

duties includes working in her correctional facility’s law library, where inmates have

access to the Internet. Id. There, the inmates have access to news about this case, as

well as online data broker websites and services, while Officer Doe-2 is on duty in

their presence. Id. This position poses risks that are not merely hypothetical; Officer

Doe-2 and her coworkers recently discovered a note left behind by an inmate which

included the full name and home address of a young female member of the jail’s

administrative staff. Id.

      Jane Doe-2 thus has good reason to believe “[l]itigating publicly will. . .

contribute further to the harm [she] alleges has already occurred.” Megless, 954 F.3d

at 410. Disclosing her name and participation in this litigation will draw public

attention to the fact that her home address and phone number are disclosed on

Defendants’ websites. Compl. ¶¶ 28, 54, 60–63. Given her past exposure to credible

threats to her safety—and the risk that the same individual might target her again—

Jane Doe-2 has reasonable grounds to fear that this publicity will endanger her

physical safety, even after she withdraws from this case. See Doe v. Pennsylvania

Dep’t of Corr., 585 F. Supp. 3d 797, 805 (W.D. Pa. 2022) (“Doe’s complaints of past

harassment and threats are credible and, in and of themselves, raise a heighted risk

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of future harassment and threats should Doe lose their anonymity.”) (citation

omitted); Doe v. Univ. of Scranton, 2020 WL 1244368, at *2 (M.D. Pa. Mar. 16,

2020) (reasonable fear existed where litigant previously experienced death threats

following disclosure).

   II.      The Private and Public Interest Factors Favor Anonymity

         Jane Doe-2’s interests in protecting her safety and privacy outweigh any

countervailing public interest in ascertaining her identity. This Court has identified

six factors that favor anonymity:

         (1) the extent to which the identity of the litigant has been kept confidential;
         (2) the bases upon which disclosure is feared or sought to be avoided, and the
         substantiality of these bases; (3) the magnitude of the public interest in
         maintaining the confidentiality of the litigant’s identity; (4) whether, because
         of the purely legal nature of the issues presented or otherwise, there is an
         atypically weak public interest in knowing the litigant’s identities; (5) the
         undesirability of an outcome adverse to the pseudonymous party and
         attributable to his refusal to pursue the case at the price of being publicly
         identified; and (6) whether the party seeking to sue pseudonymously has
         illegitimate ulterior motives.

Megless, 654 F.3d at 409 (quoting Doe v. Provident Life & Acc. Ins. Co., 176 F.R.D.

464, 467-68 (E.D. Pa. 1997)). This Court has also identified three factors

“disfavoring anonymity,” namely:

         (1) The universal level of public interest in access to the identities of litigants;
         (2) whether, because of the subject matter of this litigation, the status of the
         litigant as a public figure, or otherwise, there is a particularly strong interest
         in knowing the litigants’ identities, beyond the public’s interest which is
         normally obtained; and (3) whether the opposition to pseydonym by counsel,
         the public, or the press is illegitimately motivated.

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Id. (quoting Provident Life, 176 F.R.D. 467-68). These factors uniformly favor

allowing Jane Doe-2 to preserve her anonymity.

      To begin, Jane Doe-2’s identity has “been kept confidential” at every stage in

proceedings below and was “not disclosed in any of the pleadings, motions, and/or

exhibits in this action.” Doe v. Lund’s Fisheries, Inc., 2020 WL 6749972, at *2

(D.N.J. Nov. 17, 2020); Doe v. Oshrin, 299 F.R.D. 100, 103 (D.N.J. 2014). There is

no suggestion Jane Doe-2 has “illegitimate ulterior motives.” Megless, 654 F.3d at

411. And as discussed, Jane Doe-2 reasonably fears that disclosure of her name and

participation in this litigation will expose her to a risk of revictimization at the hands

of the inmate who previously targeted her or new assailants. Doe v. Trishul

Consultancy, LLC, 2019 WL 4750078, at *5 (D.N.J. Sept. 30, 2019) (recognizing “a

strong interest in incentivizing plaintiffs to litigate their claims without threat of

revictimization”).

      Conversely, Defendants have never objected to Jane Doe-2 proceeding

anonymously, and there is no reason to believe Defendants will suffer any prejudice

because Jane Doe-2 is willing to privately disclose her identity to enable Defendants

to adequately litigate their claims. And far from militating against anonymity, the

public interest favors “maintaining the confidentiality of the litigant’s identity” here.

Megless, 654 F.3d at 409 (quotation marks and citation omitted). In enacting

Daniel’s Law, the New Jersey Legislature determined that the public interest

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required providing law enforcement, prosecutors, and judges with a way to protect

their addresses and phone numbers from widespread public disclosure. Requiring

disclosure of Jane Doe-2’s name would defeat that purpose by advertising where her

address and phone number are readily accessible online—on Defendants’ websites.

Moreover, if Jane Doe-2 is “forced to reveal. . . her name,” other covered persons

who face similar risks of having their name connected with their address or phone

number through increased publicity will “be deterred from litigating claims that the

public would like to have litigated.” Megless, 654 F.3d at 410; Doe v. Middlesex

Count, New Jersey, 2021 WL 130480, at *5 (D.N.J. Jan. 14, 2021) (“[P]rotecting

[plaintiff’s] identity will help ensure similarly situated plaintiffs are not dissuaded

from pursuing their claims”).

      These cases also feature an “atypically weak public interest in knowing the

litigants’ identities” because of the predominantly “legal nature of the issues

presented” in these appeals and in Daniel’s Law cases generally. Megless, 654 F.3d

at 409 (quotation marks and citation omitted). In these appeals, the only issue is

whether Daniel’s Law facially violates the First Amendment—a purely legal

question for which “the individual facts and circumstances surrounding each

[p]laintiff are not of central importance.” L.A. v. Hoffman, 2015 WL 4461852, at *2

(D.N.J. July 21, 2015). And to establish their claims under Daniel’s Law, Plaintiffs

need only prove that Defendants disclosed their address and phone number more

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than 10 days of receipt of a nondisclosure request, see N.J.S.A. 56:8-166:1(a), which

typically implicates few issues of public significance. Oshrin, 299 F.R.D. at 104

(refusing to find a “public interest in ascertaining [p]laintiff’s actual identity”

because plaintiff’s claims would only “require the Court to resolve primarily legal

issues” and “address whether. . . [p]laintiff suffered specific damages.”).

      Finally, the factors “disfavoring anonymity” do not apply to these cases.

Megless, 654 F.3d at 409. These cases do not involve any “particularly strong

interest” in public disclosure of Jane Doe-2’s identity, and neither Defendants nor

“the public, or the press” have ever raised any “opposition” to Jane Doe-2

proceeding anonymously. Id. (quotation marks and citation omitted). “[E]ven if

Plaintiff’s actual identity remains confidential, these proceedings will remain public,

thereby preserving any general public interest in the subject matter of this litigation.”

Oshrin, 299 F.R.D. at 104; see also Provident Life, 176 F.R.D. at 468 (“[U]se of a

pseudonym [would] not interfere with the public’s right or ability to follow the

proceedings[,]” because “the proceedings” remained “open to the public”); Doe v.

Evans, 202 F.R.D. 173, 176 (E.D. Pa. 2001) (permitting litigant to proceed

anonymously when it would “not impede the public’s ability to follow the

proceedings”). Although there is a “universal interest in favor of open judicial

proceedings,” Megless, 654 F.3d at 411, that interest “exists in some respect in all

litigation and does not outweigh the strength of the [other] factors.” Doe v. Hartford

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Life & Acc. Ins. Co., 237 F.R.D. 545, 551 (D.N.J. 2006); Lund’s Fisheries, 2020 WL

6749972, at *4 (same).

                                CONCLUSION
      For these reasons, Jane Doe-2 respectfully requests that this Court allow her

to maintain her anonymity as she withdraws from this case and after withdrawal.



Dated: May 9, 2025                      Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

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Dated: May 9, 2025                           s/ Adam R. Shaw
                                               Adam R. Shaw




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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Third Circuit by using the

appellate CM/ECF system on May 9, 2025.

Dated: May 9, 2025                            /s/ Adam R. Shaw
                                                  Adam R. Shaw




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